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                    United States Court of Federal Claims
                                           No. 13-487V
                                (Filed Under Seal: April 19, 2018)
                                      Reissued: May 4, 20181

                                              )
    DAVID FAIRCHILD,                          )
                                              )
                        Petitioner,           )
                                              )
    v.                                        )
                                                      Vaccine Case; Motion for Review;
                                              )
                                                      Interim Damages
    SECRETARY OF THE DEPARTMENT               )
    OF HEALTH AND HUMAN                       )
    SERVICES,                                 )
                                              )
                        Respondent.           )


                                            OPINION

Richard Gage, Richard Gage, P.C., Cheyenne, WY, for petitioner.

Glenn A. MacLeod, Torts Branch, Civil Division, United States Department of Justice,
Washington, D.C., for respondent.

SMITH, Senior Judge:

        Respondent, Secretary of the Department of Health and Human Services, seeks review of
a decision issued by Special Master Brian H. Corcoran awarding petitioner, Mr. David Fairchild,
interim damages for vaccine injury compensation. Mr. Fairchild brought this action pursuant to
the National Vaccine Injury Compensation Program, alleging that he suffered from bilateral
brachial plexus neuritis caused by a tetanus vaccine. 42 U.S.C. §§ 300aa-10, et seq. (2012).
Respondent conceded Mr. Fairchild’s entitlement to compensation, and the case proceeded to
calculation of damages. The parties agreed on all elements of the damages, except for the future
lost earnings. As the dispute on future lost earnings is still pending before Special Master
Corcoran, Mr. Fairchild requested an interim award for all the agreed-upon damages. Special
Master Corcoran accordingly ordered an interim award in the requested amount. Respondent
then moved for review of this interim award. For the reasons set forth below, this Court
DENIES respondent’s Motion. Special Master Corcoran’s decision awarding interim damages
is SUSTAINED on the condition that, if Mr. Fairchild elects to receive this interim
compensation under 42 U.S.C. § 300aa-21(a), he cannot later elect to file a civil action under that
same subsection.

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       An unredacted version of this opinion was issued under seal on April 19, 2018. The parties
were given an opportunity to propose redactions, but no such proposals were made.
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I.     Background

       A brief recitation of the procedural background provides necessary context.2

        On July 18, 2013, Mr. Fairchild filed a petition seeking compensation under the National
Vaccine Injury Act (“Vaccine Act”), alleging that he suffered from brachial neuritis as a result of
the tetanus vaccine he received on February 29, 2012. See generally Decision Awarding Interim
Damages (hereinafter “Interim Decision”), ECF No. 133 at 1. Respondent conceded that Mr.
Fairchild was entitled to compensation. See generally Respondent’s Vaccine Rule 4(c) Report,
ECF No. 14. The parties have agreed on all elements of the damages, apart from Mr. Fairchild’s
claim for future lost earnings. See generally Respondent’s Proffer on Award of Compensation,
ECF No. 112; Decision Finding Entitlement and Awarding Damages, ECF No. 113. On April
13, 2017, Special Master Corcoran determined that Mr. Fairchild was not entitled to lost future
earnings. See generally Ruling on Disputed Damages Issue, ECF No. 99. Mr. Fairchild sought
review from this Court, and this Court remanded the case in light of new evidence. See
generally Order Remanding Case to Special Master, ECF No. 128.

        On November 22, 2017, Mr. Fairchild filed a motion requesting an interim award of all
undisputed elements of the compensation. See generally Petitioner’s Motion for Interim Award,
ECF No. 130. On November 29, 2017, respondent filed its opposition, contesting both Mr.
Fairchild’s entitlement to an interim compensation award and special masters’ authority to grant
such an award in general. See generally Respondent’s Response to Petitioner’s Motion for
Interim Award, ECF No. 131. On December 1, 2017, Special Master Corcoran granted Mr.
Fairchild’s request for interim award.3 See generally Interim Decision.

       Subsequently, respondent filed a motion for review on January 1, 2018. See generally
Respondent’s Motion for Review, ECF No. 138; Respondent’s Memorandum of Objections in
Support of His Motion for Review [hereinafter “R’s Mot.”], ECF No. 139. On January 13, 2018,
Mr. Fairchild responded. See generally Petitioner’s Memorandum in Response to Respondent’s
Motion for Review, ECF No. 142. Respondent’s Motion is fully briefed and ripe for review.

II.    Discussion
       The sole objection here concerns the following issue of statutory interpretation: whether
the Vaccine Act permits multiple compensation awards upon one petition. R’s Mot. at 2. This
Court reviews such an issue under a “not in accordance with the law” standard. 42 U.S.C.
§ 300aa-12(e)(2)(A)–(C); Euken by Euken v. Sec’y of Dep’t of Health & Human Servs., 34 F.3d
1045, 1047 (Fed. Cir. 1994). It is a de novo standard of review. Id.

2
       The basic facts have not changed since Special Master Corcoran’s decision awarding
interim damages. See Decision Awarding Interim Damages, ECF No. 133.
3
       On the same day, December 1, 2017, but after Special Master Corcoran filed his decision
approving the request, Mr. Fairchild filed an Amended Motion for Interim Award requesting to
include past, unreimbursed expenses ($31,333.06) into the interim damages award. See generally
Amended Motion for Interim Award, ECF No. 134. Special Master Corcoran denied this amended
motion as moot, as his earlier-in-the-day decision already contained the past, unreimbursed
expenses. See generally Order Denying Amended Motion for Interim Award, ECF No. 135.
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        In determining that Mr. Fairchild was entitled to interim damages, Special Master
Corcoran looked to two past cases in which Special Masters awarded interim injury
compensation. Day v. Sec’y of Dep’t of Health & Human Servs., No. 12-630V, 2016 WL
3457749 (Fed. Cl. Spec. Mstr. May 31, 2016), aff’d, 129 Fed. Cl. 450 (2016); Lerwick v. Sec’y of
Dep’t of Health & Human Servs., No. 06-847V, 2014 WL 1897656 (Fed. Cl. Spec. Mstr. Apr. 6,
2014). Seeking this Court’s review, respondent addresses the issue of statutory interpretation in
three main arguments. The government first argues that the Vaccine Act confers upon special
masters no affirmative basis for awarding interim compensatory damages. R’s Mot. at 6–10.
Second, respondent maintains that the Federal Circuit’s decisions on interim awards of attorneys’
fees are distinguishable because attorneys’ fees are different from injury compensation under the
Vaccine Act. Id. at 11–12. Finally, respondent contends that awarding interim compensation
generates multiple elections and, as a result, frustrates one of the Vaccine Act’s primary
purposes. Id. at 12–19. Each of these arguments will be addressed in turn.

       Respondent is correct that special masters may exercise only authorities “grounded in an
express grant from Congress.” Patton v. Sec’y of Dep’t of Health & Human Servs., 25 F.3d
1021, 1027 (Fed. Cir. 1994) (quoting Killip v. Office of Personnel Management, 991 F.2d 1564,
1569 (Fed. Cir. 1993)). Under the Vaccine Act, special masters are authorized to “issue a
decision on [a] petition with respect to whether compensation is to be provided under the
Program and the amount of such compensation.” 42 U.S.C. § 300aa-12(d)(3)(A). This provision
expressly provides special masters with the power to award compensation.

        The question then becomes whether the express grant of power to issue “a decision”
encompasses a power to issue more than one decision upon a single petition. Respondent insists
that the phrase “a decision” necessarily means a singular decision, not multiple decisions. R’s
Mot. at 6–10. However, this Court finds that the Dictionary Act demands the opposite
conclusion. Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2768 (2014) (directing that
courts “must consult” the Dictionary Act in determining the meaning of statutes, unless the
context suggests otherwise). According to the Dictionary Act, “unless the context indicates
otherwise,” “words [in any Act of Congress] importing the singular include and apply to several
persons, parties, or things; . . . .” 1 U.S.C. § 1. As such, the phrase “a decision” in Section
300aa-12(d)(3)(A) of the Vaccine Act includes multiple decisions.

        Respondent argues that the Vaccine Act’s “overall context and structure” indicate
otherwise. R’s Mot. at 7. To support this argument, respondent points to several instances
where the Vaccine Act uses “the,” a definite article, and singular words, such as “the amount”
and “such compensation,” in reference to special masters’ compensatory decisions and the
amounts of the pertinent awards. R’s Mot. at 7–8. This Court is not convinced. As a
preliminary matter, “the initial description of ‘a decision’ to be issued shows that the Vaccine
Act is not a statute in which ‘[t]he consistent use of the definite article in reference to
[something] indicates that there is generally only one . . . .’” Day v. Sec’y of Dep’t of Health &
Human Servs., 129 Fed. Cl. 450, 452 (2016) (alterations adopted) (quoting Rumsfeld v. Padilla,
542 U.S. 426, 434 (2004)). Further, since a term preceded by an indefinite article can inherently
carry a plural meaning under the Dictionary Act, any subsequent reference to that term—which
grammatically has to be preceded by a definite article or its equivalent (e.g., such)—inherits the

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same inherent plurality. This is especially true given that, under the Dictionary Act, any singular
word can include and apply to plural matters, irrespective of what type of article precedes the
word. See 1 U.S.C. § 1. Hence, for the phrase “a decision” in section 300aa-12(d)(3)(A), the
Vaccine Act’s subsequent use of definite articles and singular words does not support a singular
meaning. See Day, 129 Fed. Cl. at 452 (“The mere use of terms in the singular . . . hardly
provides the context for escaping the ambit of the Dictionary Act rule regarding the use of the
singular.”).

        Respondent also contends that the Vaccine Act’s legislative purpose shows Congress’
preference to a singular decision upon a petition. In particular, it notes that “[o]ne purpose of the
Vaccine Act is ‘to compensate vaccine-injured individuals quickly, easily, and with certainty and
generosity.’” R’s Mot. at 8 (quoting H.R. Rep. 99-908 at 3 (1986)). In light of this purpose,
respondent reasons that, because “a special master’s injury compensation decision is to be issued
within less than a year from the date the petition is filed, Congress did not see a need for (and
thus did not provide authority for)[] the payment of partial, compensatory damage awards . . . .”
R’s Mot. at 8. Respondent’s calculation, however, is incomplete. Notably, the Vaccine Act
provides various avenues for suspension of proceedings. For example, it states that “[i]n
conducting a proceeding on a petition a special master shall suspend the proceedings one time
for 30 days on the motion of either party,” and “[a]fter a motion for suspension is granted,
further motions for suspension by either party may be granted by the special master, . . . .” 42
U.S.C. § 300aa-12(d)(3)(C). The Vaccine Act also permits review of special masters’ decisions
by this Court, as well as appeal of this Court’s decisions to the Federal Circuit. See 42 U.S.C. §
300aa-12(e)–(f). These procedures consume time. Beyond that, Congress also foresaw the
possibility that a petitioner might choose to continue his or her petition before a special master or
this Court even if the statutory timeframe elapses. See 42 U.S.C. §§ 300aa-12(g), 300aa-21(b).
This Court thus finds it unlikely that Congress did not see a need for interim awards. Therefore,
the “plural decisions” understanding as guided by the Dictionary Act is not undercut by the
context and purpose of the Vaccine Act.

        Moreover, such a plural understanding is logically compelled by the Federal Circuit’s
routine authorization of interim attorneys’ fees. Respondent argues that the Federal Circuit’s
precedents in that context does not control this case because attorneys’ fees are different from
injury compensation. R’s Mot. at 11. This argument misses its mark. In Shaw v. Sec’y of Dep’t
of Health & Human Servs., the Federal Circuit held that an interim decision on attorneys’ fees “is
reviewable even when that decision issues prior to a decision on the merits.” 609 F.3d 1372,
1378 (Fed. Cir. 2010); see also Avera v. Sec’y of Dep’t of Health & Human Servs., 515 F.3d
1343 (Fed. Cir. 2008) (“Thus we conclude that the special master and the Court of Federal
Claims erred in holding that an interim fee award is not permissible.”). To reach this conclusion,
the Federal Circuit declared that, “[f]or purposes of jurisdiction under 42 U.S.C. § 300aa-12, a
decision on attorneys’ fees and costs is a decision on compensation.” Shaw, 609 F.3d at 1375.

          That declaration instructs this Court to reject respondent’s argument here. In particular,
the Federal Circuit in Shaw establishes that the phrase “a decision . . . with respect
to . . . compensation” in Section 300aa-12(d)(3)(A) encompasses interim decisions on attorneys’
fees. Id. This logically leads to the conclusion that “a decision” does not mean “a single
decision” because, in addition to a decision on attorneys’ fees, there has to be at least one

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decision on entitlement to compensation. If respondent’s “singular decision” understanding was
correct, section 300aa-12(d)(3)(A) would not allow for the opportunity to issue a decision on
attorneys’ fees—only a single decision on compensation would be permitted. Therefore,
respondent’s “singular decision” theory conflicts with Federal Circuit’s precedent and cannot be
accepted. See Day, 129 Fed. Cl. at 452 (reasoning that, after Shaw, “no one questions the
authority of our Court to review the subsequent decision regarding compensatory damages, and
thus ‘the decision’ reviewable by our Court under subsections 12(d)(3)(A) and 12(e) cannot be
limited to just one”).

         Last but not least, respondent maintains that multiple compensation decisions would lead
to multiple judgments and, in turn, multiple elections under 42 U.S.C. § 300aa-21(a). R’s Mot.
at 15. Respondent is concerned that multiple elections would allow claimants to “seek monetary
recovery from both the Vaccine Program, and a vaccine administrator or manufacturer, thus
undermining a central purpose of the Vaccine Act.” Id. at 18. Mr. Fairchild, who has not
disclaimed any intention to reject any future damages awards, could conceivably elect to receive
this interim damages award and later, should he find Special Master Corcoran’s final decision
unsatisfactory, elect to file a civil action against the relevant vaccine administrator or
manufacturer for lost future earnings. R’s Mot. at 16–17. In essence, respondent is concerned
that Mr. Fairchild could cherry-pick Special Master Corcoran’s compensation decisions, thus
exposing vaccine manufacturers and administrators to further civil actions.

        This concern is understandable, but can be resolved. “[A] simple expedient [solution]—
such as a direction that the Clerk not file any such election once a petitioner has filed an election
to accept interim damages—would prevent such strategic behavior from succeeding.” Day, 129
Fed. Cl. at 453. This solution is consistent with the Federal Circuit’s nonprecedential order in
Tembenis v. Sec’y of Dep’t of Health & Human Servs., No. 2013-5029, Order (Fed. Cir. May 16,
2013). In Tembenis, the Federal Circuit saw no problem with awarding an uncontested portion
of injury compensation when the remainder was still in dispute. Id. at 4–6. There, this Court
entered a judgment awarding the petitioners $1,084,955.61 including lost future earnings, and the
petitioners filed an election to accept the judgment. Id. at 4. The government then appealed,
challenging only the amount of $659,955.11 awarded for lost future earnings. Id. The
petitioners thereupon “move[d] for partial summary affirmance in order to immediately receive
the $250,000 in death benefits and $175,000 for pain and suffering and expenses rather than
waiting until the end of the government’s appeal regarding lost earnings.” Id. The Federal
Circuit granted the petitioners’ motion to effectuate the Vaccine Act’s “intended purpose of
compensating ‘injured persons quickly and fairly.’” Id. at 5.

         As particularly pertinent here, the Federal Circuit in Tembenis rejected the government’s
multiple-election concern, reasoning that “once a petitioner has elected to accept the judgment,
he or she has accepted it for all compensation purposes relating to that petition.” Id. at 6
(emphasis added). As such, since the petitioners there had made an election, they have yielded
the right to sue in civil actions for any portion of the petitioned compensation, including the one
still pending before the Federal Circuit at the time. Likewise here, Special Master Corcoran’s
decision can be sustained on the condition that, if Mr. Fairchild files an election to receive this
interim compensation under 42 U.S.C. § 300aa-21(a)(1), he will not be permitted to file a
subsequent election to pursue a civil action under 42 U.S.C. § 300aa-21(a). See Day, 129 Fed.

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Cl. at 454 (“The Clerk shall enter judgment awarding petitioners interim compensation in
accordance with that decision[; ][i]f petitioners file an election to receive this compensation
under 42 U.S.C. § 300aa-21(a)(1), they will not be permitted to file a subsequent election to file
a civil action under that subsection.”). In other words, Mr. Fairchild will have to “accept[] [this
interim award] for all compensation purposes relating to [his] petition.” Tembenis, No. 2013-
5029, Order, at 6.

         Respondent believes that the Federal Circuit’s order in Tembenis is inapposite because,
while this case will involve multiple judgments and elections, Tembenis dealt only with one
judgment and one election. R’s Mot. at 12–14. This distinction is irrelevant, however. What is
relevant is that the sole election in Tembenis bound the petitioners in that case not to file any
civil action upon a judgment that the Federal Circuit was still considering. See Tembenis, No.
2013-5029, Order, at 7 (“The petitioners’ election to accept the judgment [on undisputed
damages] rather than file a civil action shall also govern any [disputed] lost earnings
compensation.”). Accordingly, this Court can also order that Mr. Fairchild’s election to accept
this interim award—if he files one—effectively binds him not to elect to pursue a civil action on
the remainder of the judgment that Special Master Corcoran is still considering. Such an
approach is indeed authorized by the Vaccine Act, as it states that this Court “may issue and
enforce such orders as the court deems necessary to assure the prompt payment of any
compensation awarded.” 42 U.S.C. § 300aa-12(a).

III.   Conclusion

        For the foregoing reasons, respondent’s Motion for Review is DENIED. Special Master
Corcoran’s decision awarding Mr. Fairchild interim compensation is SUSTAINED on the
condition that, if Mr. Fairchild files an election to accept this interim compensation under 42
U.S.C. § 300aa-21(a)(1), he will not be permitted to file a subsequent election to pursue a civil
action under 42 U.S.C. § 300aa-21(a).4 The Clerk is directed to enter judgement on interim
damages in favor of petitioner, consistent with this opinion.

       IT IS SO ORDERED.

                                                       s/Loren A. Smith
                                                       Loren A. Smith,
                                                       Senior Judge




4
       This order shall be unsealed, as issued, after May 3, 2018, unless the parties, pursuant to
Vaccine Rule 18(b), identify protected and/or privileged materials subject to redaction prior to that
date. Said materials shall be identified with specificity, both in terms of the language to be redacted
and the reasons therefor.

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